Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 1 of 24 Page ID #:1



   Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
   WEISSLAW LLP
 2 9100 Wilshire Blvd. #725 E.
   Beverly Hills, CA 90210
 3 Telephone: 310/208-2800
   Facsimile: 310/209-2348
 4
   Attorneys for Plaintiff
 5
 6
 7
 8                         UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
11                                            )   Case No.
     CATHERINE COFFMAN,
12                                            )
                                              )
13                  Plaintiff,                )
                                              )   COMPLAINT FOR VIOLATIONS
14                                            )   OF THE FEDERAL SECURITIES
                    vs.                       )   LAWS
15                                            )
     FLIR SYSTEMS, INC., EARL R.              )   JURY TRIAL DEMANDED
16                                            )
     LEWIS, JAMES J. CANNON, JOHN             )
17   D. CARTER, WILLIAM W.                    )
     CROUCH, CATHERINE A.                     )
18                                            )
     HALLIGAN, ANGUS L.                       )
19   MACDONALD, MICHAEL T.                    )
     SMITH, CATHY A. STAUFFER,                )
20                                            )
     ROBERT S. TYRER, JOHN W.                 )
21   WOOD, JR., and STEVEN E.                 )
     WYNNE,                                   )
22                                            )
                                              )
23                         Defendants.        )

24
25        Plaintiff Catherine Coffman (“Plaintiff”), on behalf of herself and all others
26 similarly situated, upon information and belief, including an examination and inquiry
27
   conducted by and through her counsel, except as to those allegations pertaining to
28
                                            -1-
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 2 of 24 Page ID #:2




 1 Plaintiff, which are alleged upon personal belief, alleges the following for her
 2 Complaint:
 3
                                NATURE OF THE ACTION
 4
 5         1.    This is an action brought by Plaintiff against FLIR Systems, Inc. (“FLIR”

 6 or the “Company”) and the members of FLIR’s Board of Directors (the “Board” or the
 7
     “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the
 8
 9 Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a),
10 and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R.
11
   § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant to which FLIR
12
13 will be acquired by Teledyne Technologies Incorporated (“Teledyne”) through its
14 subsidiaries Firework Merger Sub I, Inc. (“Merger Sub I”) and Firework Merger Sub
15
   II, LLC (“Merger Sub II”) (the “Proposed Transaction”).
16
17       2.     On January 4, 2021, FLIR and Teledyne issued a joint press release
18   announcing that they had entered into an Agreement and Plan of Merger dated January
19
     4, 2021 (the “Merger Agreement”). Under the terms of the Merger Agreement, each
20
21   FLIR stockholder will be entitled to receive: (i) $28.00 in cash, and (ii) 0.0718 shares
22   of Teledyne common stock for each share of FLIR common stock they own (the
23
     “Merger Consideration”). The Proposed Transaction is valued at approximately $8
24
25   billion.
26         3.    On March 4, 2021, Teledyne filed a Form S-4 Registration Statement (as
27
     amended on March 26, 2021, the “Registration Statement”) with the SEC. The
28
                                  -2-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
 Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 3 of 24 Page ID #:3




 1 Registration Statement, which recommends that FLIR stockholders vote in favor of the
 2 Proposed Transaction, omits or misrepresents material information concerning, among
 3
     other things: (i) the financial projections for FLIR and the data and inputs underlying
 4
 5 the financial valuation analyses that support the fairness opinion provided by the
 6 Company’s financial advisor, Goldman Sachs & Co. LLC (“Goldman”); and (ii)
 7
     Goldman’s and Company insiders’ potential conflicts of interest.           Defendants
 8
 9 authorized the issuance of the false and misleading Registration Statement in violation
10 of Sections 14(a) and 20(a) of the Exchange Act.
11
         4.     In short, unless remedied, FLIR’s public stockholders will be irreparably
12
13 harmed because the Registration Statement’s material misrepresentations and
14 omissions prevent them from making a sufficiently informed voting or appraisal
15
   decision on the Proposed Transaction. Plaintiff seeks to enjoin the stockholder vote on
16
17 the Proposed Transaction unless and until such Exchange Act violations are cured.
18                             JURISDICTION AND VENUE
19
           5.    This Court has jurisdiction over the claims asserted herein for violations
20
21 of Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated
22 thereunder pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28
23
   U.S.C. §1331 (federal question jurisdiction).
24
25         6.    The Court has jurisdiction over defendants because each defendant is
26 either a corporation that conducts business in and maintains operations in this District,
27
   or is an individual who has sufficient minimum contacts with this District so as to
28
                                            -3-
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 4 of 24 Page ID #:4




 1 render the exercise of jurisdiction by this Court permissible under traditional notions
 2 of fair play and substantial justice.
 3
           7.    Venue is proper in this District under Section 27 of the Exchange Act, 15
 4
 5 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company maintains
 6 offices located in this District; (ii) one or more of the defendants either resides in or
 7
     maintains executive offices in this District; and (iii) defendants have received
 8
 9 substantial compensation in this District by doing business here and engaging in
10 numerous activities that had an effect in this District.
11
                                      THE PARTIES
12
13      8.    Plaintiff is, and has been at all times relevant hereto, a continuous

14 stockholder of FLIR.
15
          9.     Defendant FLIR is a Delaware corporation, with its principal executive
16
17 offices located at 27700 SW Parkway Avenue, Wilsonville, Oregon 97070 and offices
18 in Santa Barbara and Ventura, California. The Company is a world-leading industrial
19
   technology company focused on intelligent sensing solutions for defense and industrial
20
21 applications. FLIR’s common stock trades on the NASDAQ Global Select Market
22 under the ticker symbol “FLIR.”
23
         10. Defendant Earl R. Lewis (“Lewis”) has been Chairman of the Board since
24
25 November 2000, and a director of the Company since 1999.              Defendant Lewis
26 previously served as the Company’s President and Chief Executive Officer (“CEO”)
27
   from November 2000 until his retirement in May 2013.
28
                                          -4-
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 5 of 24 Page ID #:5




 1        11.   Defendant James J. Cannon (“Cannon”) has been President, CEO, and a

 2 director of the Company since June 2017.
 3
          12.   Defendant John D. Carter (“Carter”) has been a director of the Company
 4
 5 since August 2003.
 6        13.   Defendant William W. Crouch (“Crouch”) has been a director of the
 7
     Company since May 2005.
 8
 9        14.   Defendant Catherine A. Halligan (“Halligan”) has been a director of the

10 Company since March 2014.
11
       15. Defendant Angus L. Macdonald (“Macdonald”) has been a director of the
12
13 Company since April 2001.
14        16.   Defendant Michael T. Smith (“Smith”) has been a director of the
15
     Company since July 2002. Defendant Smith also serves as Lead Director on the
16
17 Teledyne board, where he has been a director since 2001.
18        17.   Defendant Cathy Stauffer (“Stauffer”) has been a director of the Company
19
     since March 2014.
20
21        18.   Defendant Robert S. Tyrer (“Tyrer”) has been a director of the Company
22 since October 2017.
23
         19. Defendant John W. Wood, Jr. (“Wood”) has been a director of the
24
25 Company since May 2009.
26        20.   Defendant Steven E. Wynne (“Wynne”) has been a director of the
27
     Company since November 1999.
28
                                  -5-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 6 of 24 Page ID #:6




 1         21.   Defendants identified in paragraphs 10-20 are referred to herein as the

 2 “Board” or the “Individual Defendants.”
 3
                               OTHER RELEVANT ENTITIES
 4
 5         22.   Teledyne is a Delaware corporation, with its principal executive offices

 6 located at 1049 Camino Dos Rios, Thousand Oaks, California 91360. Teledyne
 7
     provides enabling technologies for industrial growth markets that require advanced
 8
 9 technology and high reliability. These markets include aerospace and defense, factory
10 automation, air and water quality environmental monitoring, electronics design and
11
   development, oceanographic research, deepwater oil and gas exploration and
12
13 production, medical imaging and pharmaceutical research. Teledyne’s products
14 include digital imaging sensors, cameras and systems within the visible, infrared and
15
   X-ray spectra, monitoring and control instrumentation for marine and environmental
16
17 applications, harsh environment interconnects, electronic test and measurement
18 equipment, aircraft information management systems, and defense electronics and
19
   satellite communication subsystems. Teledyne also supplies engineered systems for
20
21 defense, space, environmental and energy applications. Teledyne’s common stock
22 trades on the New York Stock Exchange under the ticker symbol “TDY.”
23
          23. Merger Sub I is a Delaware corporation and wholly owned subsidiary of
24
25 Teledyne.
26         24.   Merger Sub II is a Delaware limited liability company and wholly owned
27
     subsidiary of Teledyne.
28
                                  -6-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 7 of 24 Page ID #:7




 1                         SUBSTANTIVE ALLEGATIONS
 2
     Background of the Company
 3
           25.    FLIR designs, develops, markets, and distributes solutions that detect
 4
 5 people, objects and substances that may not be perceived by human senses and improve
 6 the way people interact with the world around them. FLIR brings these innovative
 7
   technologies into daily life in ways that help save lives and livelihoods. FLIR
 8
 9 technologies include thermal imaging systems, visible-light imaging systems, locater
10
     systems, measurement and diagnostic systems, and advanced threat-detection
11
     solutions.
12
13         26.    Founded in 1978, FLIR is a pioneer in advanced sensors and integrated
14
     sensor systems that enable the gathering, measurement, and analysis of critical
15
     information through a wide variety of applications in government, industrial and
16
17 commercial markets worldwide. FLIR offers a broad range of infrared, also known as
18
     thermal, imaging solutions, with products that range from professional-use thermal
19
     camera smartphone accessories to highly advanced aircraft-mounted imaging systems
20
21 for military and search and rescue applications, with products in between serving a
22
     multitude of markets, customers, and applications. As the cost of thermal imaging
23
24 technology has decreased, FLIR’s opportunities to increase the adoption of thermal
25 technology and create new markets for the technology have expanded. In order to
26
     better serve the customers in these markets, FLIR has augmented its thermal product
27
28
                                  -7-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
 Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 8 of 24 Page ID #:8




 1 offerings with complementary sensing technologies, such as visible imaging, radar,
 2 laser, sonar, chemical sensing, and environmental sensing technologies.
 3
           27.    On February 25, 2021, FLIR announced its fourth quarter and full year
 4
 5 2020 financial results, reporting for the quarter: revenue of $524.3 million, up 7% over
 6 the prior year fourth quarter, in which revenue was $489.0 million; gross profit for the
 7
     quarter of $246.5 million, compared to $232.4 million in the prior year quarter;
 8
 9 earnings from operations for the quarter of $102.4 million, compared to $54.1 million
10 in the prior year quarter; an increase in operating margin to 19.5% from 11.1% in the
11
   prior year quarter; and adjusted gross profit for the quarter of $256.2 million, compared
12
13 to $248.8 million in the prior year quarter.
14         28.    For the full year 2020, the Company reported: revenues for the full year
15
     of $1,924 million, compared to $1,877 million in the prior year; gross profit for the full
16
17 year of $947.0 million, compared to $929.4 million in the prior year; and diluted
18 earnings per share (“EPS”) of $1.60, compared to $1.26 in the prior year. Reflecting
19
   on the Company’s results and looking to the future, defendant Cannon stated:
20
21       FLIR ended 2020 on a strong note with fourth quarter revenue growth of
22         7% compared to the prior year quarter. Over the course of the year, we
23
           continued to execute on our strategy, delivering new program wins,
24
25         releasing new, innovative products for our customers, and realizing cost
26         savings from Project Be Ready.          I am very proud of our team’s
27
           performance. Their dedication and hard work ensured the pandemic did
28
                                  -8-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 9 of 24 Page ID #:9




 1         not have a material impact on our consolidated financial performance, and

 2         most importantly, allowed us to meet the needs of our customers
 3
           throughout this challenging year.
 4
 5         We are entering 2021 with strong momentum, and are confident that our

 6         combination with Teledyne will create an even stronger organization. The
 7
           joining of our companies will provide a broader springboard for growth
 8
 9         and innovation to meet the evolving needs of our industrial and defense

10         customers, drive enhanced stockholder value and create new opportunities
11
           for our employees.
12
13 The Proposed Transaction
14         29.   On January 04, 2021, FLIR and Teledyne issued a joint press release
15
     announcing the Proposed Transaction. The press release states, in relevant part:
16
           THOUSAND OAKS, Calif. and ARLINGTON, Va. – January 4, 2021 –
17
18         Teledyne Technologies Incorporated (NYSE:TDY) (“Teledyne”) and
19
           FLIR Systems, Inc. (NASDAQ:FLIR) (“FLIR”) jointly announced today
20
           that they have entered into a definitive agreement under which Teledyne
21
22         will acquire FLIR in a cash and stock transaction valued at approximately
23
           $8.0 billion.
24
25
           Under the terms of the agreement, FLIR stockholders will receive $28.00
26
           per share in cash and 0.0718 shares of Teledyne common stock for each
27
28
                                  -9-
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 10 of 24 Page ID #:10




 1        FLIR share, which implies a total purchase price of $56.00 per FLIR share

 2        based on Teledyne’s 5-day volume weighted average price as of
 3
          December 31, 2020. The transaction reflects a 40% premium for FLIR
 4
 5        stockholders based on FLIR’s 30-day volume weighted average price as

 6        of December 31, 2020.
 7
 8        As part of the transaction, Teledyne has arranged a $4.5 billion 364-day
 9
          credit commitment to fund the transaction and refinance certain existing
10
11        debt. Teledyne expects to fund the transaction with permanent financing

12        prior to closing. Net leverage at closing is expected to be approximately
13
          4.0x adjusted pro forma EBITDA with leverage declining to less than 3.0x
14
15        by the end of 2022.

16
          Teledyne expects the acquisition to be immediately accretive to earnings,
17
18        excluding transaction costs and intangible asset amortization, and
19
          accretive to GAAP earnings in the first full calendar year following the
20
          acquisition.
21
22
          “At the core of both our companies is proprietary sensor technologies.
23
24        Our business models are also similar: we each provide sensors, cameras
25
          and sensor systems to our customers. However, our technologies and
26
          products are uniquely complementary with minimal overlap, having
27
28
                                - 10 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 11 of 24 Page ID #:11




 1        imaging sensors based on different semiconductor technologies for

 2        different wavelengths,” said Robert Mehrabian, Executive Chairman of
 3
          Teledyne. “For two decades, Teledyne has demonstrated its ability to
 4
 5        compound earnings and cash flow consistently and predictably. Together

 6        with FLIR and an optimized capital structure, I am confident we shall
 7
          continue delivering superior returns to our stockholders.”
 8
 9
          “FLIR’s commitment to innovation spanning multiple sensing
10
11        technologies has allowed our company to grow into the multi-billion-

12        dollar company it is today,” said Earl Lewis, Chairman of FLIR. “With
13
          our new partner’s platform of complementary technologies, we will be
14
15        able to continue this trajectory, providing our employees, customers and

16        stockholders even more exciting momentum for growth. Our Board fully
17
          supports this transaction, which delivers immediate value and the
18
19        opportunity to participate in the upside potential of the combined

20        company.”
21
22        Jim Cannon, President and Chief Executive Officer of FLIR, said, “We
23
          could not be more excited to join forces with Teledyne through this value-
24
25        creating transaction. Together, we will offer a uniquely complementary

26        end-to-end portfolio of sensory technologies for all key domains and
27
          applications across a well-balanced, global customer base. We are pleased
28
                                - 11 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 12 of 24 Page ID #:12




 1         to be partnering with an organization that shares our focus on continuous

 2         innovation and operational excellence, and we look forward to working
 3
           closely with the Teledyne team as we bring our two companies together
 4
 5         to capitalize on the important opportunities ahead.”

 6
           Fourth Quarter Financial Results
 7
 8
           In a separate press release issued today, Teledyne announced improved
 9
10         preliminary financial results for the fourth quarter and full year 2020. The
11
           Teledyne press release is available on www.teledyne.com. FLIR noted
12
           today that it expects to meet or exceed the full year fiscal 2020 guidance
13
14         it provided on October 30, 2020.
15
16         Approvals and Timing
17
18         The transaction, which has been approved by the boards of directors of
19         both companies, is expected to close in the middle of 2021 subject to the
20
           receipt of required regulatory approvals, including expiration or
21
22         termination of the applicable waiting period under the Hart-Scott-Rodino
23         Antitrust Improvements Act, approvals of Teledyne and FLIR
24
           stockholders and other customary closing conditions.
25
26
     Insiders’ Interests in the Proposed Transaction
27
28
                                 - 12 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 13 of 24 Page ID #:13




 1         30.   FLIR insiders are the primary beneficiaries of the Proposed Transaction,

 2 not the Company’s public stockholders. The Board and the Company’s executive
 3
     officers are conflicted because they will have secured unique benefits for themselves
 4
 5 from the Proposed Transaction not available to Plaintiff and the public stockholders of
 6 FLIR.
 7
           31.   Notably, Company insiders stand to reap substantial financial benefits for
 8
 9 securing the deal with Teledyne. Pursuant to the Merger Agreement, all outstanding
10 stock options, restricted stock units (“RSUs”), and performance based restricted stock
11
   units (“PRSUs”) will vest and convert into the right to receive cash payments. The
12
13 following tables summarize the value of options, RSUs, and PSUs held by Company
14 insiders:
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                 - 13 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 14 of 24 Page ID #:14




 1
 2
 3
 4
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 7
 8
 9
10
11
12
13
14
15
16
          32.   Further, if they are terminated in connection with the Proposed
17
18 Transaction, FLIR’s named executive officers are set to receive substantial cash
19 severance payments in the form of golden parachute compensation, as set forth in the
20
   following table:
21
22
23
24
25
     The Registration Statement Contains Material Misstatements or Omissions
26
27
28
                                - 14 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 15 of 24 Page ID #:15




 1         33.   The defendants filed a materially incomplete and misleading Registration

 2 Statement with the SEC and disseminated it to FLIR’s stockholders. The Registration
 3
     Statement misrepresents or omits material information that is necessary for the
 4
 5 Company’s stockholders to make an informed decision whether to vote in favor of the
 6 Proposed Transaction or seek appraisal.
 7
           34.   Specifically, as set forth below, the Registration Statement fails to provide
 8
 9 Company stockholders with material information or provides them with materially
10 misleading information concerning: (i) the financial projections for FLIR and the data
11
   and inputs underlying the financial valuation analyses that support the fairness opinion
12
13 provided by the Company’s financial advisor, Goldman; and (ii) Goldman’s and
14 Company insiders’ potential conflicts of interest.
15
   Material Omissions Concerning the Financial Projections for FLIR and Goldman’s
16 Financial Analyses
17
         35. The Registration Statement omits material information regarding the
18
19 financial projections for FLIR.
20         36.   For example, the Registration Statement fails to disclose all line items
21
     underlying the calculation of (i) unlevered free cash flow, (ii) adjusted EBITDA, and
22
23 (iii) adjusted EPS.
24         37.   The Registration Statement also omits material information regarding
25
     Goldman’s financial analyses.
26
27
28
                                 - 15 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 16 of 24 Page ID #:16




 1         38.    The Registration Statement describes Goldman’s fairness opinion and the

 2 various valuation analyses it performed in support of its opinion. However, the
 3
     description of Goldman’s fairness opinion and analyses fails to include key inputs and
 4
 5 assumptions underlying these analyses. Without this information, as described below,
 6 FLIR’s public stockholders are unable to fully understand these analyses and, thus, are
 7
     unable to determine what weight, if any, to place on Goldman’s fairness opinion in
 8
 9 determining whether to vote in favor of the Proposed Transaction or seek appraisal.
10         39.    With respect to Goldman’s Implied Premia and Multiple Analysis, the
11
     Registration Statement fails to disclose the individual research analyst price targets
12
13 utilized in the analysis.
14         40.    With respect to Goldman’s Illustrative Discounted Cash Flow Analysis,
15
     the Registration Statement fails to disclose: (i) quantification of the range of terminal
16
17 values for FLIR; (ii) quantification of the inputs and assumptions underlying the
18 discount rates ranging from 10.0% to 12.0%; and (iii) Goldman’s basis for applying
19
   EV/EBITDA multiples of 12.0x to 15.0x in deriving the terminal value of the
20
21 Company.
22         41.    With respect to Goldman’s Illustrative Present Value of Future Share
23
     Price Analysis of FLIR and of the Implied value of Consideration per Company Share,
24
25 the Registration Statement fails to disclose: (i) the NTM EPS estimates of FLIR, or
26 clarification that they are the same as the adjusted EPS figures set forth in the
27
28
                                 - 16 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 17 of 24 Page ID #:17




 1 Company’s projections on page 101 of the Registration Statement; and (ii)
 2 quantification of the inputs and assumptions underlying the discount rate of 8.25%.
 3
          42.   The omission of this material information renders the statements in the
 4
 5 “Unaudited Prospective Financial Information Used by the FLIR Board of Directors
 6 and FLIR’s Financial Advisor” and “Opinion of the Company’s Financial Advisor”
 7
     sections of the Registration Statement false and/or materially misleading in
 8
 9 contravention of the Exchange Act.
10 Material Omissions Concerning Goldman’s and Company Insiders’ Potential
11
   Conflicts of Interest
12
13       43. The Registration Statement fails to disclose material information

14 concerning the potential conflicts of interest faced by Goldman.
15
         44. The Registration Statement sets forth that:
16
17       Goldman Sachs has provided certain financial advisory and/or
18        underwriting services to FLIR and/or its affiliates from time to time.
19
          During the two year period ended December 20, 2020, the Investment
20
21        Banking Division of Goldman Sachs has not been engaged by FLIR,
22        Teledyne or their respective affiliates to provide financial advisory or
23
          underwriting services for which Goldman Sachs has recognized
24
25        compensation.
26
27
28
                                - 17 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 18 of 24 Page ID #:18




 1 Registration Statement at 111. The Registration Statement fails, however, to set forth
 2 the amount of compensation Goldman has received from FLIR for certain financial
 3
     advisory and/or underwriting services provided.
 4
 5         45.   The Registration Statement further fails to disclose whether any other

 6 division of Goldman has performed any services for FLIR or Teledyne in the two years
 7
     prior to the date of Goldman’s fairness opinion and, if so, the details of the services
 8
 9 Goldman performed and the amount of compensation Goldman received for such
10 services.
11
          46. Full disclosure of investment banker compensation and all potential
12
13 conflicts is required due to the central role played by investment banks in the
14 evaluation, exploration, selection, and implementation of strategic alternatives.
15
         47. The Registration Statement also omits material information regarding the
16
17 potential conflicts of interest faced by Company insiders.
18         48.   For example, in the January 4, 2021 press release announcing the
19
     Proposed Transaction, defendant Cannon is quoted as stating, “We are pleased to be
20
21 partnering with an organization that shares our focus on continuous innovation and
22 operational excellence, and we look forward to working closely with the Teledyne team
23
   as we bring our two companies together to capitalize on the important opportunities
24
25 ahead.” The Registration Statement fails, however, to disclose the details of any
26 employment and retention-related discussions and negotiations that occurred between
27
   Teledyne and FLIR’s executive officers, including who participated in all such
28
                                         - 18 -
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 19 of 24 Page ID #:19




 1 communications, when they occurred and their content. The Registration Statement
 2 further fails to disclose whether any of Teledyne’s proposals or indications of interest
 3
     mentioned management retention in the combined company following the Proposed
 4
 5 Transaction or the purchase of or participation in the equity of the surviving
 6 corporation.
 7
           49.    The omission of this material information renders the statements in the
 8
 9 “Opinion of the Company’s Financial Advisor” and “Background of the Mergers”
10 sections of the Registration Statement false and/or materially misleading in
11
   contravention of the Exchange Act.
12
13       50. The Individual Defendants were aware of their duty to disclose the above-

14 referenced omitted information and acted negligently (if not deliberately) in failing to
15
   include this information in the Registration Statement. Absent disclosure of the
16
17 foregoing material information prior to the stockholder vote on the Proposed
18 Transaction, Plaintiff and the other stockholders of FLIR will be unable to make an
19
   informed voting or appraisal decision in connection with the Proposed Transaction and
20
21 are thus threatened with irreparable harm warranting the injunctive relief sought herein.
22                                   CLAIMS FOR RELIEF
23
                                             COUNT I
24
25         Claims Against All Defendants for Violations of Section 14(a) of the

26                Exchange Act and Rule 14a-9 Promulgated Thereunder
27
           51.    Plaintiff repeats all previous allegations as if set forth in full.
28
                                - 19 -
       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 20 of 24 Page ID #:20




 1         52.   During the relevant period, defendants disseminated the false and

 2 misleading Registration Statement specified above, which failed to disclose material
 3
     facts necessary to make the statements, in light of the circumstances under which they
 4
 5 were made, not misleading in violation of Section 14(a) of the Exchange Act and SEC
 6 Rule 14a-9 promulgated thereunder.
 7
           53.   By virtue of their positions within the Company, the defendants were
 8
 9 aware of this information and of their duty to disclose this information in the
10 Registration Statement. The Registration Statement was prepared, reviewed, and/or
11
   disseminated by the defendants. It misrepresented and/or omitted material facts,
12
13 including material information about FLIR’s financial projections, the data and inputs
14 underlying the financial valuation analyses that support the fairness opinion provided
15
   by Goldman, and Goldman’s and Company insiders’ potential conflicts of interest. The
16
17 defendants were at least negligent in filing the Registration Statement with these
18 materially false and misleading statements.
19
         54. The omissions and false and misleading statements in the Registration
20
21 Statement are material in that a reasonable stockholder would consider them important
22 in deciding how to vote on the Proposed Transaction.
23
          55. By reason of the foregoing, the defendants have violated Section 14(a) of
24
25 the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.
26         56.   Because of the false and misleading statements in the Registration
27
     Statement, Plaintiff is threatened with irreparable harm, rendering money damages
28
                                 - 20 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 21 of 24 Page ID #:21




 1 inadequate.      Therefore, injunctive relief is appropriate to ensure defendants’

 2 misconduct is corrected.
 3
                                            COUNT II
 4
                        Claims Against the Individual Defendants for
 5
 6                     Violations of Section 20(a) of the Exchange Act
 7         57.    Plaintiff repeats all previous allegations as if set forth in full.
 8
           58.    The Individual Defendants acted as controlling persons of FLIR within
 9
10 the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
11
     positions as officers and/or directors of FLIR, and participation in and/or awareness of
12
     the Company’s operations and/or intimate knowledge of the false statements contained
13
14 in the Registration Statement filed with the SEC, they had the power to influence and
15
     control and did influence and control, directly or indirectly, the decision-making of the
16
     Company, including the content and dissemination of the various statements which
17
18 Plaintiff contends are false and misleading.
19
           59.    Each of the Individual Defendants was provided with or had unlimited
20
     access to copies of the Registration Statement and other statements alleged by Plaintiff
21
22 to be misleading prior to and/or shortly after these statements were issued and had the
23
     ability to prevent the issuance of the statements or cause the statements to be corrected.
24
25         60.    In particular, each of the Individual Defendants had direct and supervisory

26 involvement in the day-to-day operations of the Company, and, therefore, is presumed
27
     to have had the power to control or influence the particular transactions giving rise to
28
                                 - 21 -
        COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 22 of 24 Page ID #:22




 1 the securities violations as alleged herein, and exercised the same. The Registration
 2 Statement at issue contains the unanimous recommendation of each of the Individual
 3
     Defendants to approve the Proposed Transaction. They were, thus, directly involved
 4
 5 in the making of the Registration Statement.
 6         61.   In addition, as the Registration Statement sets forth at length, and as
 7
     described herein, the Individual Defendants were each involved in negotiating,
 8
 9 reviewing, and approving the Proposed Transaction. The Registration Statement
10 purports to describe the various issues and information that they reviewed and
11
   considered—descriptions the Company directors had input into.
12
13       62. By virtue of the foregoing, the Individual Defendants have violated

14 Section 20(a) of the Exchange Act.
15
         63. As set forth above, the Individual Defendants had the ability to exercise
16
17 control over and did control a person or persons who have each violated Section 14(a)
18 and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as alleged
19
   herein. By virtue of their positions as controlling persons, these defendants are liable
20
21 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
22 defendants’ conduct, FLIR’s stockholders will be irreparably harmed.
23
                                PRAYER FOR RELIEF
24
25         WHEREFORE, Plaintiff demands judgment and preliminary and permanent
26 relief, including injunctive relief, in her favor on behalf of FLIR, and against
27
   defendants, as follows:
28
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       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 23 of 24 Page ID #:23




 1        A.    Preliminarily and permanently enjoining defendants and all persons acting

 2              in concert with them from proceeding with, consummating, or closing the
 3
                Proposed Transaction and any vote on the Proposed Transaction, unless
 4
 5              and until defendants disclose and disseminate the material information

 6              identified above to FLIR stockholders;
 7
          B.    In the event defendants consummate the Proposed Transaction, rescinding
 8
 9              it and setting it aside or awarding rescissory damages to Plaintiff;

10        C.    Declaring that defendants violated Sections 14(a) and/or 20(a) of the
11
                Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;
12
13        D.    Awarding Plaintiff the costs of this action, including reasonable allowance

14              for Plaintiff’s attorneys’ and experts’ fees; and
15
          E.    Granting such other and further relief as this Court may deem just and
16              proper.
17
                                      JURY DEMAND
18
          Plaintiff demands a trial by jury on all claims and issues so triable.
19
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       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-03059-SVW-SK Document 1 Filed 04/08/21 Page 24 of 24 Page ID #:24




 1   Dated: April 8, 2021                  WEISSLAW LLP
                                           Joel E. Elkins
 2
                                           By: /s/ Joel E. Elkins
 3
 4                                         Joel E. Elkins
 5                                         9100 Wilshire Blvd. #725 E.
                                           Beverly Hills, CA 90210
 6                                         Telephone: 310/208-2800
 7                                         Facsimile: 310/209-2348
                                                  -and-
 8                                         Richard A. Acocelli
 9                                         1500 Broadway, 16th Floor
                                           New York, NY 10036
10                                         Telephone: 212/682-3025
11                                         Facsimile: 212/682-3010

12                                         Attorneys for Plaintiff
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       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
